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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
ROBERT HUGHES,                                    )
                                                  )
               Plaintiff,                         )
       v.                                         )    Case No. 4:24-cv-00442-SEP
                                                  )
T-MOBILE USA, INC.,                               )
                                                  )
               Defendant.                         )
                                  MEMORANDUM AND ORDER
       Before the Court is Defendant’s Motion to Dismiss. Doc. [12]. The motion is fully
briefed and ready for disposition. Docs. [13], [18], [20]. For the reasons set forth below,
the motion is granted.
                                     FACTS AND BACKGROUND 1
       Defendant hired Plaintiff, a black male, to work as an Account Manager. Doc. [5]
¶¶ 5-6. As an Account Manager, Plaintiff had a “quota of thirty-�ive units per month,
generated from activity in the seven states assigned to [Plaintiff].” Id. ¶ 9. Following
Defendant’s merger with Sprint, Plaintiff was reassigned to a team consisting of all white
females and servicing just two states, and Plaintiff’s quota was increased to �ifty units per
month. Id. ¶¶ 1012. “After [Plaintiff] complained about the unfairness of the increased
quota, Defendant took away half of Plaintiff’s potential market in Missouri and gave it to a
white female.” Id. ¶ 13. When that white female quit after three months, Plaintiff was
forced to share the territory with another white female who already had exclusive access to
Nebraska, Colorado, and Kansas. Id. ¶¶ 14-15. Plaintiff claims that all the white female
Account Managers had several states assigned to them. Id. ¶ 16. Plaintiff complained about
the “unfair quota and territory assignments,” but “[m]anagement never answered.” Id.
¶¶ 18-19. On or about March 18, 2021, Plaintiff received a write-up for failing to meet his
sales quota. Id. ¶ 20. According to Plaintiff, none of the white female Account Managers
were written up despite not meeting their quotas. Id. On August 24, 2021, Plaintiff made


1 The Court assumes the following facts, taken from the Petition, to be true for the purposes of the

motion to dismiss. See Neitzke v. Williams, 490 U.S. 319, 326-27 (1989).

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an of�icial complaint alleging race and sex discrimination. Id. ¶ 22. Defendant took no
action regarding the complaint, and Plaintiff eventually resigned. Id. ¶¶ 23-24.
       On September 27, 2021, Plaintiff �iled a Charge of Discrimination with the Missouri
Commission on Human Rights and the Equal Employment Opportunity Commission. Id.
¶ 25. On January 24, 2023, the EEOC issued Plaintiff a right-to-sue letter. Id. ¶ 27. Plaintiff
originally �iled this action in state court alleging sex/gender and racial discrimination in
violation of the Missouri Human Rights Act (MHRA), illegal retaliation in violation of the
MHRA, and hostile work environment in violation of the MHRA. See Doc. [5]. Defendant
removed the action to federal court, Doc. [1], and �iled a motion to dismiss, Doc. [12].
                                          LEGAL STANDARD
       Under Federal Rule of Civil Procedure 12(b)(6), a party may move to dismiss a claim
for “failure to state a claim upon which relief can be granted.” The notice pleading standard
of Federal Rule of Civil Procedure 8(a)(2) requires a plaintiff to give “a short and plain
statement of the claim showing that the pleader is entitled to relief.” To survive a Rule
12(b)(6) motion to dismiss, “a complaint must contain suf�icient factual matter, accepted as
true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,
678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).
       Determining if well-pled factual allegations state a “plausible claim for relief” is “a
context-speci�ic task that requires the reviewing court to draw on its judicial experience
and common sense.” Id. at 679. A plaintiff’s allegations must allow “the court to draw the
reasonable inference that the defendant is liable for the misconduct alleged.” Whitney v.
Guys, Inc., 700 F.3d 1118, 1128 (8th Cir. 2012) (quoting Iqbal, 556 U.S. at 678). The well-
pled facts must establish more than a “mere possibility of misconduct.” Iqbal, 556 U.S. at
679.
       When ruling on a motion to dismiss, a court “must liberally construe a complaint in
favor of the plaintiff,” Huggins v. FedEx Ground Package Sys., Inc., 592 F.3d 853, 862 (8th Cir.
2010), and “grant all reasonable inferences in favor of the nonmoving party,” Lustgraaf v.
Behrens, 619 F.3d 867, 872-73 (8th Cir. 2010) (citing Braden v. Wal-Mart Stores, Inc., 588
F.3d 585, 591 (8th Cir. 2009)). But if a plaintiff fails to allege one of the elements necessary
to recovery on a legal theory, the Court must dismiss that claim for failure to state a claim
upon which relief can be granted. See Crest Constr. II, Inc. v. Doe, 660 F.3d 346, 355 (8th Cir.
                                                  2
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2011). “Threadbare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suf�ice.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at
555). Although courts must accept all well-pled factual allegations as true, they “are not
bound to accept as true a legal conclusion couched as a factual allegation.” Twombly, 550
U.S. at 555 (internal quotations and citation omitted).
                                           DISCUSSION
       Defendant moves to dismiss on the basis that Plaintiff has failed to obtain a right-to-
sue letter from the MCHR. Doc. [13] at 2-4. “To initiate a claim under the MHRA a party
must timely �ile an administrative complaint with MCHR [Missouri Commission on Human
Rights] and either adjudicate the claim through the MCHR or obtain a right-to-sue letter.”
Stuart v. Gen. Motors Corp., 217 F.3d 621, 630 (8th Cir. 2000). “Only after a plaintiff receives
a right-to-sue letter from the MCHR may he �ile an MHRA claim.” Busch v. AppleCare Serv.
Co., Inc., 2024 WL 2048861, at *4 (E.D. Mo. May 8, 2024) (citing Hammond v. Mun. Corr.
Inst., 117 S.W.3d 130, 136 (Mo. Ct. App. 2003)); see also Whitmore v. O'Connor Mgmt., Inc.,
156 F.3d 796, 800 (8th Cir. 1998) (“[W]e believe that the Missouri courts would consider a
right-to-sue letter as a condition precedent, although not a jurisdictional prerequisite, to
bringing an action under the MHRA.”).
       In his response, Plaintiff claims that he received a right-to-sue letter from the EEOC.
However, “[a] right-to-sue letter from the EEOC does not give rise to a right-to-sue under
the MHRA; the plaintiff must �irst receive a right-to-sue letter from the MCHR.” Hammond,
117 S.W.3d at 136 (citing Whitmore, 156 F.3d at 800). And while Plaintiff is correct that the
“failure to obtain a right to sue letter can be cured after litigation has begun,” Davis v.
Bemiston-Carondelet Corp., 2006 WL 1722277, at *3 (E.D. Mo. June 20, 2006), Plaintiff has
made no attempt to cure this defect despite the fact that the Motion to Dismiss has been
pending for over six months. Compare Simmons v. Directory Distrib. Assocs., 2005 WL
2033426, at *6 (E.D. Mo. Aug. 22, 2005) (dismissing plaintiff’s MHRA claims because
plaintiff “could have possibly cured the defect by obtaining a right-to-sue letter after �iling
the case, but did not do so”), with Davis, 2006 WL 1722277, at *3 (motion to dismiss denied
where plaintiff was actively “pursuing a writ of mandamus in state court that would
require MCHR to issue him a right-to-sue letter”). Because Plaintiff has failed to plead or
otherwise establish that he received a right-to-sue letter from the MCHR, the Court �inds
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that Plaintiff has failed to adequately exhaust his administrative remedies as to his claims
under the MHRA.
       Accordingly,
       IT IS HEREBY ORDERED that Defendant’s Motion to Dismiss, Doc. [12], is
GRANTED. The case is dismissed without prejudice.
       The Court will issue a separate order of dismissal.
       Dated this 8th day of January, 2025.



                                               SARAH E. PITLYK
                                               UNITED STATES DISTRICT JUDGE




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